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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA                                            Case No.: 3:19−cr−00141−SI
   Plaintiff,

v.

ONWUEMERIE OGOR GIFT, et al.
  Defendant.


                                  Criminal Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the of the U.S. District Court for
the District of Oregon and assigned to:




2.    Courtroom Deputy Clerk: Questions about the status or scheduling of this case should be
directed to:

           Mary Austad
           Telephone: 503−326−8034
           Email: mary_austad@ord.uscourts.gov
3.   Case Administrator/Docket Clerk: Questions about filings or docket entries in this case
should be directed to:

4.    Place of Filing: Any paper filings must be submitted to the Clerk of Court, (See LR 3−1, LR
5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

DATED: April 18, 2019                                MARY L. MORAN
                                                     Clerk of Court

                                                 by: /s/ P. Scheneman
                                                     P. Scheneman, Deputy Clerk
